Case 1:21-cr-00371-BMC-TAM Document 246 Filed 09/17/22 Page 1 of 2 PageID #: 6234




  UNITED STATES DISTRICT COURT FOR THE
  EASTERN DISTRICT OF NEW YORK



  UNITED STATES OF AMERICA


                                  Plaintiff,
                                                           No. 1:21-cr-000371-BMC-TAM
         -against-

  AL MALIK ALSHAHHI, et al.,

                                 Defendants.

                                                      ORDER

         WHEREAS, trial is scheduled to commence in the above captioned case on Monday

  September 19, 2022 in Courtroom 8D South before the Honorable Brian M. Cogan;

         WHEREAS, counsel for Mr. Barrack has filed a letter motion requesting the Court’s

  permission for Mr. Barrack and certain non-attorneys assisting the defense during trial to enter the

  courthouse with a laptop and/or cell phone for use in connection with the trial in this matter.

         IT IS HEREBY ORDERED that Mr. Barrack and the following non-attorneys assisting

  the defense during trial will be permitted to enter the courthouse with the following devices for

  use in connection with the trial in this matter:


           Individual:                                   Devices Permitted:
           Thomas J. Barrack, Jr.
           (Defendant)                                   1 laptop, 1 cell phone
           Raymond McLeod
           (Trial Support)                               2 laptops, 1 cell phone

           Maria Obregon
           (Trial Support)                               1 laptop, 1 cell phone
Case 1:21-cr-00371-BMC-TAM Document 246 Filed 09/17/22 Page 2 of 2 PageID #: 6235




           Scott Allen
           (Trial Support)                  1 laptop, 1 cell phone

           Chad Lackey
           (Trial Support)                  1 laptop, 1 cell phone

           Ashley Moore
           (Paralegal)                      1 laptop, 1 cell phone

           Thomas Davis
           (Consultant)                     1 laptop, 1 cell phone

           Vincent Marra
           (Security)                       1 laptop, 1 cell phone


                                     SO ORDERED.
                                   Digitally signed by Brian M.
                                   Cogan
                                    ______________________________________
                                     THE HONORABLE BRIAN M. COGAN
                                     UNITED STATES DISTRICT JUDGE
                                     EASTERN DISTRICT OF NEW YORK

  Dated:              17 2022
           September __,
           Brooklyn, New York
